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                        Exhibit E
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         Move Out Inspection Form

                                    YRC
          Tenant Name:

          Building/Suite:           53 Expo Road, Fishersville, VA 22939                         Square Feet:   10,940

          Forwarding Address:
          Phone Number:
          Email:

          Utility Meters:


          Original Lease Term:      From:                                               To:

          Lease Expiration Date:                                                      Move Out Date:     TBD


                                                                                                 Notes
                                                Acceptable
                                   Acceptable




                                                             N/A
                                                   Not




Storefront
Windows/Glass                      x
Entry Door                         x
Entry Door Closer                  x
Signage                            x
Interior Office
Lighting                           x




Exit Lights                                        x
Walls                                              x               Minor Holes and some face tears, needs patching
Carpet                                             x               Worn out and stained
Tile/VCT                                           x               Needs to be cleaned throughout, strip/wax
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Voce Base                   x
Windows                     x




Window Covering                 x      Several (4) blinds did not work throughout office
Doors and Hardware (Keys)       x      Did not have keys for interior offices
Door Closers                x
Electrical Outlets          x
Ceiling Grid                    x      Damage in Service Center Mangers Office
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Ceiling Tiles                x       8 stained ceiling tiles in main office and ladies’ room
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Telephone and Internet     x
Cabling

Restrooms
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Toilets              x




Urinals              x




Partitions                       x
Walls                     X           Walls damaged/dirty
Faucets                   x           Faucet in men’s rooms had no pressure and head missing from
                                      shower in WH restroom
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Sinks                        x




                                     Dirty
Lights                  x
Fans                    x
Water Heaters                x       Tested water – ran warm but did not get hot. HWH appears to have a
                                     leak
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                                                                                          Notes




                                       Acceptable
                          Acceptable




                                                    N/A
                                          Not
Warehouse
Bollards                                  X               All bollards need to be repainted




Floor condition                           x               Landlord is only responsbile for structural portion of the loading dock
                                                          floor
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Floor joints                   x




Drains                               x
Demising Walls                 x           Wall panel damage on rear (Eastern) wall
Man Doors                      x           Doors on North and South of WH have holes
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Lighting                       x           4 lights not working. Overhead Door #18 light is bent




Breaker Panels            x
Transformers                         x
Columns                   x
Bollards                  x
Other                          x           Ceiling had insulation damage throughout WH
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HVAC Equipment
Heating Units                          x
A/C Units                        x           No copies of reports, but TSTATS in office were set to 69 and reading
                                             69
Rooftop Units                          x     Did not inspect
Thermostats                  x               TSTATS were set to 69 and were reading 69. Need inspection report.
Exhaust Fans                 x
Roof Top Fans                          x
Paddle Fans                            x
HVAC PM Reports                  x           Tenant did not provide
Switch Plates/Cover Plates   x
Dock Equipment
Dock Door #1                     x           Minor track damage on right side
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Dock Door #2                 x       Trim around door roller hanging loose




Dock Door #3            X
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Dock Door #4                 x




                                     Door casing damage on left side




Dock Door #5                 x       Door only opened partially. Dents in lower panels
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Dock Door #6                 x       Leveler pulled away from slab
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Dock Door #7                 x       Door only opened partially




Dock Door #8                 x       Bent rail (steel piece of bottom or door) on bottom of door, did not
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                      open properly
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Dock Door #9             x




Dock Door #10                 x       Bent rail (steel piece of bottom or door) on bottom of door




Dock Door #11            x
Dock Door #12                         Bent rail (steel piece of bottom or door) on bottom of door, door only
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                                      opened partially




Dock Door #13            x
Dock Door #14                 x       Bent rail (steel piece of bottom or door) on bottom of door. Lock
                                      broken. Door did not open properly
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Dock Door #15                 x       Lower panel badly bent. Door only opened partially.
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Dock Door #16            x
Dock Door #17                 x       Bent rail (steel piece of bottom or door) on bottom of door. Track
                                      damaged. Door casing on right side damaged
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                      .
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Dock Door #18                 x       Bent rail (steel piece of bottom or door) on bottom of door. Track
                                      damaged on right side. Door casing on bottom ride side damaged.
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Dock Door #19            x
Dock Door #20                 x       Bent rail (steel piece of bottom or door) on bottom of door




Levelers                              The ones that were checked worked, except #6. Many were unable to
                                      be checked due to trailers parked at door.
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Fire Protection
Sprinkler Heads                          x
Risers                                   x
Fire Pump                                x
Fire Extinguishers            x                Serviced in June 2023
Exterior
Steps/Handrails                    x           Concrete damage on steps to main entrance




Guard Rails                        x           Fence around yard is damaged in several places
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Pipe Bollards            x
Ramps                    x
Parking Stops                X        Deteriorated need to be replaced
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Yard                           x        Gravel “yard” has erosion on north side
Exterior Siding                X        Badly damaged in many areas.
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Specialty Items
“Trucker Break Room”              x           Shower filthy and head missing from faucet. Room needs to be deep
                                              cleaned
Exterior Lighting                       x     Unable to properly check
Down Spouts                      X            1 crushed on south side of building. 2 Damaged at drive in doors to
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                      shop
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Grounds                X        Vegetation growing on fence around perimeter of property. Entrance
                                landscaping overgrown with weeds
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Exterior Spigot                X        Located on front of building to the right of the entrance. Missing handle
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Abandoned Vehicle                X        To be removed from premises. Located on southwestern corner.




Modular Trailer                  X        Needs to be removed and all electrical capped properly
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Water Cooler                X        Water fountain in warehouse does not work. Needs to be replaced.




Telco Closet                X




                                     Very Dirty.
